Case 2:05-cr-20122-SHI\/| Document 37 Filed 07/08/05 Page 1 of 2 Page|D 41

 

lN THE UN|TED STATES D|STR|CT COURT FH.ED B¢£:_.___ D.¢£
FOR THE WESTERN D|STR|CT OF TENNESSEE - ,
WESTERN D|V|S|ON 05 JUL -3 PH ha |3
liDMASM. GOLLD
UN|TED STATES OF AMER|CA G.BIHU.S. DSSTHEC’{CCIHT
W OF ?t-l, tim
Plaintiff
VS.
CR. NO. 05~20122-D
BRENDA COLBERT
Defendant.

 

oRDER oN coNTlNuANcE AND sPEciFYlNG PERioD oF ExcLuDABLE oEl_AY
AND §§TM_C_S

 

This cause came on fora report date on June 30, 2005. At that time, counsel forthe
defendant requested a continuance of the Ju|y 5, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to August 1, 2005 with a

report date of Thursday, July 21l 2005l at 9:00 a.m., in Courtroom 3 9th F|oor of the
Federa| Bui|ding, Memphis, TN.

 

The period from July 15, 2005 through August 12, 2005 is excludable under 18
U.S.C. § 31 61 (h)(B)(B)(iv) because the ends ofjustice served in allowing for additional time
to prepare outweigh the need for a speedy trial.

|T lS SO ORDERED this d day Of Juiy, 2005.

    

|CE B. DONA
|TED STATES D|STR|CT JUDGE

This document entered on the docket sheet in compliance

with Hule 55 and/or 32(1:)) FHCrP on 2"[;,§ §§ ¢;,57

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 37 in
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Honorable Bernice Donald
US DISTRICT COURT

